Case 1:08-cv-00665-GJQ ECF No. 91 filed 07/09/09 PageID.594 Page 1 of 1



                      Cheryl Phifer v. City of Grand Rapids et al
                              1:08-cv-665

                              Exhibit List

Exhibit 1 page 1 of 1                              Exhibit 16 page 1 of 1
Exhibit 2 page 1 of 3                              Exhibit 17 page 1 of 1
Exhibit 2 page 2 of 3                              Exhibit 18 page 1 of 2
Exhibit 2 page 3 of 3                              Exhibit 19 page 2 of 2
Exhibit 3 page 1 of 2                              Exhibit 20 page 1 of 1
Exhibit 3 page 2 of 2                              Exhibit 21 page 1 of 1
Exhibit 4 page 1 of 2                              Exhibit 22 page 1 of 1
Exhibit 4 page 2 of 2                              Exhibit 23 page 1 of 3
Exhibit 5 page 1 of 1                              Exhibit 23 page 2 of 3
Exhibit 6 page 1 of 1                              Exhibit 24 page 3 of 3
Exhibit 7 page 1 of 1                              Exhibit 25 dvd psa
Exhibit 8 page 1 of 2                              Exhibit 26 dvd set
Exhibit 8 page 2 of 2                              Exhibit 27 dvd
Exhibit 9 page 1 of 1                              Exhibit 33 page 1 of 1
Exhibit 10 page 1 of 3                             Exhibit 34 page 1 of 1
Exhibit 10 page 2 of 3                             Exhibit 35 page 1 of 1
Exhibit 10 page 3 of 3                             Exhibit 36 page 1 of 1
Exhibit 11 page 1 of 11                            Exhibit 37 page 1 of 1
Exhibit 11 page 2 of 11                            Exhibit 38 page 1 of 1
Exhibit 11 page 3 of 11                            Exhibit 39 page 1 of 2
Exhibit 11 page 4 of 11                            Exhibit 39 page 2 of 2
Exhibit 11 page 5 of 11                            Exhibit 40 page 1 of 1
Exhibit 11 page 6 of 11                            Exhibit 41 page 1 of 1
Exhibit 11 page 7 of 11                            Exhibit 42 page 1 of 1 + dvd
Exhibit 11 page 8 of 11                            Exhibit 43 page 1 of 1
Exhibit 11 page 9 of 11                            Exhibit 44 page 1 of 2
Exhibit 11 page 10 of 11                           Exhibit 44 page 2 of 2
Exhibit 11 page 11 of 11                           Exhibit 45 page 2 of 2
Exhibit 12 page 1 of 1                             Exhibit 46 page 1 of 1
Exhibit 13 page 1 of 1                             Exhibit 47 page 1 of 1
Exhibit 14 page 1 of 1                             Exhibit 50 page 1 of 1
Exhibit 15 page 1 of 1
